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IN THE UNITED sTATES DlsTRlCT CoURT n ` j
FoR THE WESTERN DISTRICT oF TENNESSEE 05 g -}-
WESTERN DIVISION ` **"’ ‘
§GB€:¢~» 1" §?. s”)j _. .
CHARLES CURTIS JoNEs and ) JQBER§F U “oi- ‘ §
ALETA JONES, ) ‘N MLN.PH:`S
)
Plaintiff, )
)
vs. ) No. 02-2128 An
)
A.C. GlLLESS, JR. et al., )
)
Defendants. )
oRDER SETTING HEARING

 

Before the Court is the parties’ Joint Motion to Revise the Current Scheduling Order and
to Continue Trial Setting filed on April 19, 2005. After consideration it is ORDERED that a
hearing be held before Unitod States Magistrate Judge S. Thornas Anderson on WEDNESDAY,
MAY 4, 2005 at 3:00 P.M. in Courtroorn M-3, 9th Floor, Federal Building, Memphis,

Tennessee.

IT IS SO ORDERED.
Y//Mz?~r @,_)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE ]UDGE

Date: %é’cof 2@/_ ?Oof'

Th!s document entered on the docket sheet In compliance gp /

with eula 53 and/ar rs(a) FHcP on _L/l~&@j___

   

UNITD sATEs DISTRIC COURT - WETERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:02-CV-02128 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

